           Case 6:17-cv-00054-SEH Document 55 Filed 08/03/18 Page 1 of 3



Alexander L. Roots
PLANALP, REIDA, ROOTS
 & RILEY, P.C.
27 N. Tracy Avenue
P.O. Box 1
Bozeman, MT 59771-0001
Telephone: (406) 586-4351
alex@planalplaw.com

Attorneys for Joseph Robertson and Carrie Pfleger Robertson


                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                               HELENA DIVISION

UNITED STATES OF AMERICA,        )                Cause No. CV-17-54-H-SEH
                                 )
          Plaintiff,             )
                                 )
     vs.                         )
                                 )              NOTICE OF APPEARANCE
JOSEPH ROBERTSON AND CARRIE )
PFLEGER ROBERTSON,               )
                                 )
          Defendants.            )
________________________________ )

        COMES NOW Alexander L. Roots, and hereby enters his appearance on

behalf of Defendants Joseph Robertson and Carrie Pfleger Robertson. Mr. Roots is

a member of the State Bar of Montana, and is admitted to practice in the U.S.

District Court for the District of Montana. His contact information is as follows:




Notice of Appearance - 1
           Case 6:17-cv-00054-SEH Document 55 Filed 08/03/18 Page 2 of 3



        Alexander L. Roots
        PLANALP, REIDA, ROOTS & RILEY, P.C.
        27 N. Tracy Avenue
        P.O. Box 1
        Bozeman, MT 59771-0001
        Telephone: (406) 586-4351
        Facsimile: (406) 586-7877
        alex@planalplaw.com

        Mr. Roots is appearing in this matter to serve as local counsel for the

admission pro hac vice of New York attorney Lawrence A. Kogan, and will

discharge the duties of local counsel stated at Local Rule 83.1(d)(6). A motion for

Mr. Kogan’s admission is submitted concurrently.

        DATED this 3rd day of August, 2018.

                                         PLANALP, REIDA, ROOTS
                                         & RILEY, P.C.

                                          /s/ Alexander L. Roots
                                         Alexander L. Roots
                                         27 N. Tracy Avenue
                                         P.O. Box 1
                                         Bozeman, MT 59771-0001
                                         alex@planalplaw.com




Notice of Appearance - 2
           Case 6:17-cv-00054-SEH Document 55 Filed 08/03/18 Page 3 of 3



                                CERTIFICATE OF SERVICE

      This is to certify, under penalty of perjury, that on the 3rd day of August,
2018, the foregoing was duly served upon those indicated below by the following
means:

          1,2,3            CM/ECF
        _______            Hand Delivery
                           Mail

1.      Clerk, U.S. District Court

2.      MEGAN L. DISHONG
        Assistant U.S. Attorney
        U.S. Attorney’s Office
        P.O. Box 8329
        Missoula, MT 59807
        105 E. Pine, 2nd Floor
        Missoula, MT 59802
        megan.dishong@usdoj.gov

3.      MICHAEL S. KAKUK
        Kakuk Law Offices, P.C.
        1717 Harrison Ave.
        Helena, MT 59601
        info@kakuk.com



                                            /s/ Alexander L. Roots
                                           Alexander L. Roots
                                           27 N. Tracy Avenue
                                           P.O. Box 1
                                           Bozeman, MT 59771-0001
                                           alex@planalplaw.com




Notice of Appearance - 3
